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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

CHEYENNE MOORE,                §
    Plaintiff,                 §
                               §
                               §
v.                             §                CIVIL ACTION NO. 4:21-CV-1190
                               §
K. HOVNANIAN COMPANIES,        §
LLC, D/B/A K. HOVNANIAN HOMES, §
     Defendant.                §


         STIPULATION BETWEEN PLAINTIFF AND DEFENDANT


      WHEREAS, Plaintiff filed her opposed motion to compel mediation and to stay

depositions.

      WHEREAS, Defendant wishes to depose the Plaintiff before attending

mediation.

      WHEREAS, the Plaintiff wishes to attend mediation before the cost and

expense of deposing Defendant and Defendant’s witnesses.

      WHEREAS, the Parties have reached a compromise on the issue of depositions

and mediations, THEREFORE, such agreement is stated as follows:

1.    The Plaintiff will make herself available for a deposition to the Defendant in

      September 2021.

2.    After the Plaintiff’s deposition, the Parties will mediate this matter within a

      reasonable timeframe, using an agreed-upon mediator.

3.    The Parties will cooperate in scheduling the mediation and if relevant



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      adjusting deadlines (subject to Court approval if necessary) to allow the

      mediation to take place.

4.    In exchange for mediating at the above-described time, the Plaintiff will file a

      notice of withdrawal of the Plaintiff’s pending Motion to Compel Mediation and

      to Stay Depositions.



AGREED TO AND ACCEPTED BY:



                                           /s/ Kimberly S. Moore (with permission)
Evan Lange, Counsel for Plaintiff         Kimberly S. Moore, Counsel for Defendant


Date: August 26, 2021                     Date: August 26, 2021




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